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IN THE UNITED sTATEs DISTRICT cOURT 'HBB¥._ 1 _____ 95
FOR THE wEsTERN DISTRICT oF TENNESSEE
wEsTERN DIVISION DSAU; _g AH 542
WU'&-M
UNITED sTATEs oF AMERICA W;[}%§ RBTE]ME%§SEUU|H
Plaintiff,
. 020 j 0 gm
v. (She¢\ \a’) Criminal No. )__ j

(30-Day Continuance)

VL/.,

 

 

 

 

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Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and Counsel for the
defendant(s) have agreed that, for good Cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the September,
2005, criminal rotation calendar, but is now RESET for report at
9100 a.m. On Fridav. September 23, 2005, with trial to take place
on the October, 2005 rotation calendar with the time excluded under
the Speedy Trial Act through October 14, 2005. Agreed.in open court

at report date this 26th day of August, 2005.

This document entered on the docket sheet In com Fanc'=
with ama 55 and/or 32(b) FHCrP on_L.L_ '05

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SO ORDERED this 26th day of August, 2005.

 

JON PHIPPS MCCALLA
UNITED STA'I'ES DISTRICT JUDGE

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/%/_

Assistant United States Attorney

 

 

 

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/ f …

Counsel for Defendant(e)

 

ISTRICT COURT - WESRTE DISTRICT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 73 in
case 2:05-CR-20078 Was distributed by faX, mail, or direct printing on
August 30, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

